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FoR THE wEsTERN DlsTRlcT oF TENNEssEE _
wEsTERN DlvlsloN 05 SEP 2 PH 5- 25

 

THOW\S‘M.-MD
uNlTEr) sTATEs oF AMERch CLE;%%S; NHQHCHM

Plaintiff

VS.
CR. NO. 05-20029-D

KENDR|CK WATSON

Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on August 25, 2005. At that time, counsel for
the defendant requested a continuance of the September 6, 2005 trial date in order to
allow for additional preparation in the case.

The Court granted the request and reset the trial date to November 7, 2005 with a
Mon date of Thursdav. October 27. U§, at 9:00 a.m., in Courtroom 3. 9th Floor of
the Federa| Building, Memphis, TN.

The period from August 25, 2005 through November18, 2005 is excludable under
18 U.S.C. § 3161(h)(8)(B)(iv) because the ends ofjustice served in allowing for additional
time to prepare outweigh the need for a speedy trial.

lT |S SO ORDERED this day of September, 2005.

 
  
     

  

BE N|CE B. DQ|NALD
UN| ED STATE D|ST CT JUDGE

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 48 in
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Honorable Bernice Donald
US DISTRICT COURT

